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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,
Plaintiff, Civil Action No. 00-11977-DPW

¥v.

HARVARD UNIVERSITY, et al.
Defendants.

ORDER

On , the United States and Jonathan Hay (“Hay’’) filed an Agreement for
Judgment pursuant to the terms of the Settlement Agreement between them. Upon due

consideration of the stipulation and the papers on file in this action,
IT IS HEREBY ORDERED that,

1. Judgment shall enter against Hay on Counts I-III in accordance with this Court’s

rulings dated June 25, 2004 on cross-motions for summary judgment;

2. This Judgment, by agreement of the parties pursuant to the Civil Settlement
Agreement filed with the Court, will be satisfied provided that Hay makes the payments required
by that Agreement, in accordance with the terms of that Agreement. At such time as Hay has
satisfied his obligations under the Settlement Agreement, Hay may file a notice of satisfaction of
judgment, and, absent objection from the United States, the judgment will thenceforth be a

dismissal with prejudice.

Done this day of . 2005.

UNITED STATES DISTRICT JUDGE
